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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


  ABS HEALTHCARE SERVICES, LLC,                               CASE NO. 0:21-CV-60859-RKA
  HEALTH OPTION ONE, LLC and
  ONE STOP QUOTES, INC.

                 Plaintiffs,
  v.

  ANDREW SHADER, COREY SHADER,
  NATIONAL HEALTH SOLUTIONS, INC.,
  INFINIX MEDIA LLC, PRODIGY
  HEALTH GROUP LLC, ADAM BEEMAN,
  JOY STORMONT, ALLIANCE
  MARKETING CORPORATION, KRATOS
  INVESTMENTS LLC, HEALTH TEAM
  ONE LLC, RICHARD RYSCIK,
  SCOTT OFFUTT, BEEMAN’S FUTURE,
  INC., CS MARKETING LLC, and
  C SHADER INVESTMENTS LLC,

              Defendants.
  ___________________________________/

                           JOINT REQUEST FOR JUDICIAL NOTICE

         Defendants, pursuant to Fed.R.Evid. 201, jointly and respectfully request that this Court

  take judicial notice of the Related Case Table attached as Exhibit 1, together with the various

  complaints, demands for arbitration, orders and docket reports attached thereto, as these materials

  are appropriately considered in connection with Defendants’ Joint Consolidated Motion To

  Dismiss, Abstain, Compel Arbitration and/or Stay.

         Federal Rule of Evidence 201 permits this Court to take judicial notice of court filings and

  other matters of public record. Selane Products, Inc. v. Continental Cas. Co., 2020 WL 7253378

  (C.D. Cal. 2020) (“Under Federal Rule of Evidence 201, a court may take judicial notice of court

  filings and other matters of public record,” citing Harris v. Cnty. Of Orange, 682 F.3d 1126, 1132
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  (9th Cir. 2012), and Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir.

  2006)). Similarly, Rule 201 permits the Court to take judicial notice of the court file in related

  cases. Cagan v. Intervest Midwest Real Estate Corp., 774 F. Supp. 1089 (N.D. Ill. 1991) (district

  court could take judicial notice of court file in related case). Indeed, Rule 201 permits the Court

  to take judicial notice of another court’s order for purposes of recognizing the “judicial act” that

  the order represents.1 U.S. v. Jones, 29 F.3d 1549, 1553 (11th Cir. 1994) (“[A] court may take

  judicial notice of another court’s order only for the limited purpose of recognizing the ‘judicial

  act’ that the order represents or the subject matter of the litigation,” citing U.S. v. Garland, 991

  F.2d 328, 332 (6th Cir. 1993), Colonial Leasing Co. v. Logisticis Control Group, Int’l, 762 F.2d

  454, 459 (5th Cir. 1985), and St. Louis Baptist Temple, Inc. v. Federal Deposit Ins. Corp., 605 F.2d

  1169, 1172-73 (10th Cir. 1979)); see also Weizmann Institute of Science v. Neschis, 229 F. Supp.2d

  234, 246 (S.D.N.Y. 2002) (court may take judicial notice of documents filed in arbitration not for

  the truth of the matters asserted therein, but solely to establish the fact of such litigation and related

  filings.).

          The related complaints of ABS Healthcare Services, LLC and Health Option One, LLC

  (collectively, “ICD”) may be judicially noticed for purposes of establishing that ICD asserted

  allegations and claims in various state court actions that it has now also asserted in the instant

  action. Similarly, the court orders compelling ICD to arbitrate its claims against ten (10) of the

  Defendants named in the instant action are relevant to the question of whether this Court should




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    In this context, Defendants also respectfully request that the Court take judicial notice of the
  following decisions: ABS Healthcare Services, LLC v. Hardill, 313 So.3d 1162 (Fla. 4th DCA
  2021); ABS Healthcare Services, LLC v. Desola, 313 So.3d 1163 (Fla. 4th DCA 2021); Kratos
  Investments LLC v. ABS Healthcare Services, LLC, --- So.3d ---, 2021 WL 1009277 (Fla. 3d DCA
  2021); ABS Healthcare Services, LLC v. Shader, 2021 WL 2115257 (Fla.Cir.Ct.).


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  compel arbitration and/or stay this proceeding pending the conclusion of arbitrations involving the

  same purported facts underlying the predicate acts alleged in the complaint.

         Finally, copies of the Exclusive Agent Agreements referenced in the complaint in the

  instant action are attached to the complaints in several different state actions, both those involving

  several of the Defendants here and other actions involving ICD’s former insurance agents. To the

  extent these former insurance agents and their Exclusive Agent Agreements have been referenced

  in the instant complaint, this Court may take judicial notice of such referenced materials. Almanza

  v. United Airlines, Inc., 162 F. Supp. 3d 1341, 1352 (S.D. Ga. 2016) (“[T]he court may take into

  account facts that are subject to judicial notice and documents that are incorporated into the

  complaint by reference.”), aff’d, 851 F.3d 1060 (11th Cir. 2017) (citing Tellabs, Inc. v. Makor

  Issues & Rights, Ltd., 551 U.S. 308, 322 (2007); Fed. R. Evid. 201(b)(2) (“The court may judicially

  notice a fact that is not subject to reasonable dispute because it ... can be accurately and readily

  determined from sources whose accuracy cannot reasonably be questioned.”)).

         WHEREFORE, Defendants respectfully request that this Court take judicial notice of the

  Related Case Table attached as Exhibit 1, together with the various complaints, demands for

  arbitration, orders and docket reports attached thereto.




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  Dated: June 4, 2021.

  Respectfully submitted,

         /s/ Benjamine Reid                        /s/ Samuel A. Lewis
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